                                             Case 2:15-cv-03378-JFW-MRW Document 249 Filed 11/09/16 Page 1 of 5 Page ID #:11034



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                                                                              Attorneys for Plaintiffs
                                                                         8    Golden Boy Promotions, LLC, Golden Boy
                                                                              Promotions, Inc. and Bernard Hopkins
                                                                         9
                                                                                                            UNITED STATES DISTRICT COURT
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GREENBERG GLUSKER FIELDS CLAMAN




                                                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                         11
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12   GOLDEN BOY PROMOTIONS, LLC,                 Case No. 2:15-cv-03378 JFW (MRWx)
       & MACHTINGER LLP




                                                                              GOLDEN BOY PROMOTIONS, INC.
                                                                         13   and BERNARD HOPKINS,                        Assigned to Hon. John F. Walter
                                                                         14                           Plaintiffs,         EXCERPTED DEPOSITION
                                                                                                                          TESTIMONY OF GENE DEETZ IN
                                                                         15            v.                                 SUPPORT OF PLAINTIFFS’
                                                                                                                          OPPOSITION TO BOTH OF
                                                                         16   ALAN HAYMON, ALAN HAYMON                    DEFENDANTS’ MOTIONS FOR
                                                                              DEVELOPMENT, INC., HAYMON                   SUMMARY JUDGMENT
                                                                         17   HOLDINGS, LLC, HAYMON
                                                                              SPORTS, LLC, HAYMON BOXING                  Date:      November 28, 2016
                                                                         18   MANAGEMENT, HAYMON                          Time:      1:30 p.m.
                                                                              BOXING LLC, and RYAN                        Place:     Courtroom 16
                                                                         19   CALDWELL,
                                                                                                                          Action Filing Date: May 5, 2015
                                                                         20                           Defendants.         Trial Date: March 14, 2017
                                                                         21
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                                                                                                                                   EXCERPTED DEPOSITION TESTIMONY
                                                                              17896-00617/2707478.1
                                                                                                                                                     OF GENE DEETZ
                                             Case 2:15-cv-03378-JFW-MRW Document 249 Filed 11/09/16 Page 2 of 5 Page ID #:11035



                                                                         1               EXCERPTED DEPOSITION TESTIMONY OF GENE DEETZ
                                                                         2
                                                                         3             Deetz, Gene (Vol. 01) Pg: 14 Ln: 19 - Pg: 15 Ln: 14
                                                                         4                       Q. OKAY. AND IS IT CORRECT, SIR, THAT
                                                                         5             THE ANALYSIS YOU PERFORM IS A BEFORE-AND-AFTER
                                                                         6             LOST-PROFITS ANALYSIS?
                                                                         7                      A. IT -- IT -- IT IS. I GENERALLY REFER
                                                                         8             TO IT AS "BUT-FOR" ANALYSIS BUT IT'S -- IT'S -- I
                                                                         9             BELIEVE THOSE ARE THE -- THE EQUIVALENT.
                                                                         10                     Q. AND THE -- THE CONCLUSIONS THAT YOU
GREENBERG GLUSKER FIELDS CLAMAN




                                                                         11            REACH ABOUT THE DAMAGES THAT ARE SET FORTH IN YOUR
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12            REPORT ARE LOST-PROFIT DAMAGES?
       & MACHTINGER LLP




                                                                         13                     A. YES.
                                                                         14                     Q. NOW, DO YOU PROVIDE ANY OTHER OPINION
                                                                         15            ON ANY OTHER TYPES OF DAMAGES THAT THE PLAINTIFFS
                                                                         16            ALLEGEDLY SUFFERED IN THIS CASE?
                                                                         17                     A. WELL, THE OPINIONS ARE CONTAINED IN
                                                                         18            THE REPORT. I DON'T BELIEVE I DO.
                                                                         19                           I THINK I WOULD GENERALLY REFER TO
                                                                         20            THOSE AS THE DAMAGES SUFFERED BY GOLDEN BOY FROM THE
                                                                         21            ANTICOMPETITIVE BEHAVIOR OF HAYMON.
                                                                         22                     Q. OKAY. AND THOSE, IN YOUR OPINION, ARE
                                                                         23            LOST PROFITS?
                                                                         24                     A. YES.
                                                                         25
                                                                         26            Deetz, Gene (Vol. 01) Pg: 19 Ln: 18 - Pg: 20 Ln: 12
                                                                         27                      Q. SO IN YOUR OPINION HERE, YOU'RE
                                                                         28            STATING THAT GOLDEN BOY'S ABILITY TO PROMOTE
                                                                                                                                EXCERPTED DEPOSITION TESTIMONY
                                                                              17896-00617/2707478.1                    1
                                                                                                                                                  OF GENE DEETZ
                                             Case 2:15-cv-03378-JFW-MRW Document 249 Filed 11/09/16 Page 3 of 5 Page ID #:11036



                                                                         1             SUCCESSFUL EVENTS REQUIRES BOTH CHAMPIONSHIP-CALIBER
                                                                         2             BOXERS AND NETWORK TIME-SLOT AVAILABILITY; RIGHT?
                                                                         3                            MR. CESTERO: OBJECTION. THE DOCUMENT
                                                                         4             SPEAKS FOR ITSELF.
                                                                         5                            THE DEPONENT: YEAH. THE -- THE
                                                                         6             RELATIONSHIP -- THE SENTENCE SAYS WHAT IT SAYS.
                                                                         7                            THE RELATIONSHIP BETWEEN GOLDEN BOY
                                                                         8             AND THE BROADCAST MEDIA AND GOLDEN BOY'S ABILITY TO
                                                                         9             PROMOTE REQUIRES, AMONG OTHER THINGS, THOSE TWO
                                                                         10            THINGS: CHAMPIONSHIP-CALIBER BOXERS AND NETWORK
GREENBERG GLUSKER FIELDS CLAMAN




                                                                         11            TIME-SLOT AVAILABILITY.
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12            BY MR. WOLFSON:
       & MACHTINGER LLP




                                                                         13                     Q. REQUIRES CHAMPIONSHIP-CALIBER
                                                                         14            BOXERS --
                                                                         15                     A. RIGHT.
                                                                         16                     Q. -- AS A NECESSARY INPUT FOR THEIR
                                                                         17            SUCCESSFUL EVENTS?
                                                                         18                     A. YES.
                                                                         19
                                                                         20            Deetz, Gene (Vol. 01) Pg: 291 Ln: 3 - 8
                                                                         21                      SO, SIR, IT IS IT YOUR OPINION THAT
                                                                         22            THE ONLY EXPLANATORY FACTOR FOR GOLDEN BOY'S
                                                                         23            CALCULATED DECREASE IN INCOME FROM BOXING
                                                                         24            OPERATIONS
                                                                         25            IS DUE TO THE ALLEGED ANTICOMPETITIVE ACTIVITIES?
                                                                         26                     A. I -- I BELIEVE -- I BELIEVE THAT'S THE
                                                                         27            CASE.
                                                                         28
                                                                                                                                 EXCERPTED DEPOSITION TESTIMONY
                                                                              17896-00617/2707478.1                    2
                                                                                                                                                   OF GENE DEETZ
                                             Case 2:15-cv-03378-JFW-MRW Document 249 Filed 11/09/16 Page 4 of 5 Page ID #:11037



                                                                         1             Deetz, Gene (Vol. 01) Pg: 322 Ln: 18 - Pg: 323 Ln: 23
                                                                         2                       Q. WELL, DID YOU BELIEVE AT THE TIME YOU
                                                                         3             WROTE YOUR REPORT THAT THE PROPER ANALYSIS FOR
                                                                         4             DETECTING THE IMPACT ON GOLDEN BOY FROM THE ALLEGED
                                                                         5             ANTICOMPETITIVE CONDUCT WAS GOLDEN BOY'S FINANCIAL
                                                                         6             PERFORMANCE WITH RESPECT TO PROMOTING
                                                                         7             CHAMPIONSHIP-CALIBER BOXERS?
                                                                         8                            MR. CESTERO: OBJECTION. IT'S VAGUE
                                                                         9             AND AMBIGUOUS.
                                                                         10                           THE DEPONENT: AS I -- AS I TESTIFIED
GREENBERG GLUSKER FIELDS CLAMAN




                                                                         11            THIS MORNING, I THINK THE PROPER DAMAGE CALCULATION
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12            ENCOMPASSES BOTH CHAMPIONSHIP-CALIBER AND
       & MACHTINGER LLP




                                                                         13            NON-CHAMPIONSHIP-CALIBER BOXERS COMPARING '14 TO '15
                                                                         14            AND '15 TO '16.
                                                                         15            BY MR. WOLFSON:
                                                                         16                     Q. OKAY. AND -- AND WHY DO YOU BELIEVE
                                                                         17            THAT'S THE PROPER ANALYSIS?
                                                                         18                           MR. CESTERO: OBJECTION; ASKED AND
                                                                         19            ANSWERED.
                                                                         20                           THE DEPONENT: BECAUSE THE -- BECAUSE
                                                                         21            KNEUPER OPINES THE IMPACT OF THE TYING OF THE
                                                                         22            PROMOTION AND THE MANAGEMENT AND THE LOCKUP OF THE
                                                                         23            T.V.'S HARMS GOLDEN BOY AND ITS ABILITY TO GET YOUNG
                                                                         24            PROSPECTS THROUGH THE PROCESS OF DEVELOPING THEM
                                                                         25            INTO
                                                                         26            CHAMPIONSHIP-CALIBER BOXERS.
                                                                         27            BY MR. WOLFSON:
                                                                         28                     Q. UH-HUH.
                                                                                                                                 EXCERPTED DEPOSITION TESTIMONY
                                                                              17896-00617/2707478.1                      3
                                                                                                                                                   OF GENE DEETZ
                                             Case 2:15-cv-03378-JFW-MRW Document 249 Filed 11/09/16 Page 5 of 5 Page ID #:11038



                                                                         1                      A. AND SO I'VE CONSIDERED AND -- AND IN
                                                                         2             ADDITION, WE'VE TOUCHED ON THIS AS WELL. THAT'S PART
                                                                         3             OF IT, ATTRACTING CHAMPIONSHIP-CALIBER BOXERS, AND
                                                                         4             THE IMPORTANCE OF OPPONENTS ALL GO INTO THOSE FOUR
                                                                         5             CATEGORIES THAT I'VE BROKEN OUT IN EXHIBIT 3.
                                                                         6
                                                                         7
                                                                         8    DATED: November 9, 2016             GREENBERG GLUSKER FIELDS
                                                                                                                  CLAMAN & MACHTINGER LLP
                                                                         9
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GREENBERG GLUSKER FIELDS CLAMAN




                                                                                                                  By: /s/ Ricardo P. Cestero
                                                                         11                                          RICARDO P. CESTERO (SBN 203230)
                                                                                                                     Attorneys for Plaintiffs Golden Boy
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                                                                         12                                          Promotions, LLC, Golden Boy
       & MACHTINGER LLP




                                                                                                                     Promotions, Inc. and Bernard Hopkins
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                                                                                                                            EXCERPTED DEPOSITION TESTIMONY
                                                                              17896-00617/2707478.1                 4
                                                                                                                                              OF GENE DEETZ
